                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                             )
                                                      )       Case No. 1:11-cr-1
 v.                                                   )
                                                      )       COLLIER / LEE
 MANOLO MENDEZ ESCOBAR                                )
     a/k/a Johnny Ayala-Garcia                        )

                                            ORDER

        On June 3, 2011, Magistrate Judge Susan K. Lee filed a report and recommendation

 recommending the Court: (1) grant Defendant’s motion to withdraw his not guilty plea to Count

 One of the two-count Second Superseding Indictment; (2) accept Defendant’s plea of guilty to Count

 One of the Second Superseding Indictment; (3) adjudicate Defendant guilty of the charges set forth

 in Count One of the Second Superseding Indictment; (4) defer a decision on whether to accept the

 plea agreement until sentencing; and (5) find Defendant shall remain in custody until sentencing in

 this matter (Court File No. 104). Neither party filed a timely objection to the report and

 recommendation. After reviewing the record, the Court agrees with the magistrate judge’s report

 and recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s

 report and recommendation (Court File No. 104) pursuant to 28 U.S.C. § 636(b)(1) and ORDERS

 as follows:

        (1)     Defendant’s motion to withdraw his not guilty plea to Count One of the Second

                Superseding Indictment is GRANTED;

        (2)     Defendant’s plea of guilty to Count One of the Second Superseding Indictment is

                ACCEPTED;

        (3)     Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of the

                Second Superseding Indictment;



Case 1:11-cr-00001-CLC-SKL          Document 122          Filed 07/05/11    Page 1 of 2      PageID
                                          #: 267
       (4)   A decision on whether to accept the plea agreement is DEFERRED until sentencing;

             and

       (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

             scheduled to take place on Thursday, September 22, 2011 at 9:00 a.m. before the

             Honorable Curtis L. Collier.

       SO ORDERED.

       ENTER:



                                            /s/
                                            CURTIS L. COLLIER
                                            CHIEF UNITED STATES DISTRICT JUDGE




                                              2


Case 1:11-cr-00001-CLC-SKL       Document 122      Filed 07/05/11     Page 2 of 2     PageID
                                       #: 268
